                   Case 2:19-cr-00525-KM Document 58 Filed 12/08/21 Page 1 of 6 PageID: 539
AO 245B (Mod. D/NJ 12/06) Sheet 1 - Judgment in a Criminal Case




                                                           UNITED STATES DISTRICT COURT
                                                                 District of New Jersey


  UNITED STATES OF AMERICA

              v.                                                            CASE NUMBER      2:19-CR-00525-KM-1
 WILLIAM GREEN

            Defendant.


                                                          JUDGMENT IN A CRIMINAL CASE
                                               (For Offenses Committed On or After November 1, 1987)


            The defendant, WILLIAM GREEN, was represented by MICHAEL V. GILBERTI, ESQ.

The defendant pleaded guilty to Count 1 of the INDICTMENT on 4/5/2021. Accordingly, the court has adjudicated that the
defendant is guilty of the following offense:

 Title & Section                 Nature of Offense                                 Date of Offense     Count Number

 18:1960                         OPERATING AN UNLICENSED MONEY                     8/2017-2/2019       1
                                 TRANSMITTING BUSINESS


       As pronounced on December 8, 2021, the defendant is sentenced as provided in pages 2 through 6 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

        It is ordered that the defendant must pay to the United States a special assessment of $100.00 for Count 1 of
Indictment, which shall be due immediately. Said special assessment shall be made payable to the Clerk, U.S. District
Court.

        It is further ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of any
material change in economic circumstances.

            Signed this 8TH day of December, 2021.

                                                                              /s/ Kevin McNulty
                                                                             ___________________________
                                                                             Kevin McNulty
                                                                             U.S. District Judge




08724
                  Case 2:19-cr-00525-KM Document 58 Filed 12/08/21 Page 2 of 6 PageID: 540
AO 245B (Mod. D/NJ 12/06) Sheet 4 - Probation


                                                                                           Judgment - Page 2 of 6
Defendant: WILLIAM GREEN
Case Number: 2:19-CR-00525-KM-1



                                                         PROBATION

            You are hereby sentenced to probation for a term of 3 years.

        While on probation, you must not commit another federal, state, or local crime, must refrain from any unlawful use
of a controlled substance and must comply with the standard conditions that have been adopted by this court as set forth
below.

        You must submit to one drug test within 15 days of commencement of probation and at least two tests thereafter
as determined by the probation officer.

You must cooperate in the collection of DNA as directed by the probation officer.


         If this judgment imposed restitution, you must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264,
2327, 3663, 3663A, and 3664. You must pay the assessment imposed in accordance with 18 U.S.C. §3013. If this judgment
imposed a fine, you must pay in accordance with the Schedule of Payment sheet of this judgment. You must notify the
court of any material change in your economic circumstances that might affect your ability to pay restitution, fines, or special
assessments.

            You must comply with the following special conditions:


            LOCATION MONITORING PROGRAM

            You must submit to home detention for a period of 8 months and comply with the Location Monitoring Program
            requirements as directed by the U.S. Probation Office. You will be restricted to your residence at all times except
            for employment, education, religious services, medical, substance abuse and mental health treatment, court-
            ordered obligations, and any other such times specifically authorized by the U.S. Probation Office. The location
            monitoring technology is at the discretion of the U.S. Probation Office. The cost of the monitoring is waived.


            COMPUTER MONITORING

            You must submit to an initial inspection by the U.S. Probation Office, and to any unannounced examinations during
            supervision, of your computer equipment. This includes, but is not limited to, personal computers, personal digital
            assistants, entertainment consoles, cellular telephones, and/or any electronic media device which is owned or
            accessed by you. You must allow manual searches of these devices and the installation on your computer of any
            hardware or software systems which monitor computer use. You must pay the cost of the computer monitoring
            program. You may use a computer in connection with employment if approved by the U.S. Probation Office,
            provided you notify your employer of the nature of your conviction and any computer related restrictions that are
            imposed on you. The U.S. Probation Office will confirm your compliance with this notification requirement.


            CONSENT TO SEARCH

            You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. §
            1030(e)(1)), other electronic communications or data storage devices or media, or office, to a search conducted by
            a United States probation officer. Failure to submit to a search may be grounds for revocation of release. You must
            warn any other occupants that the premises may be subject to searches pursuant to this condition. The probation
            officer may conduct a search under this condition only when reasonable suspicion exists that you have violated a
            condition of supervision and that the areas to be searched contain evidence of this violation. Any search must be
            conducted at a reasonable time and in a reasonable manner.
                  Case 2:19-cr-00525-KM Document 58 Filed 12/08/21 Page 3 of 6 PageID: 541
AO 245B (Mod. D/NJ 12/06) Sheet 4 - Probation


                                                                                             Judgment - Page 3 of 6
Defendant: WILLIAM GREEN
Case Number: 2:19-CR-00525-KM-1


            FINANCIAL DISCLOSURE

            Upon request, you must provide the U.S. Probation Office with full disclosure of your financial records, including co-
            mingled income, expenses, assets and liabilities, to include yearly income tax returns. With the exception of the
            financial accounts reported and noted within the presentence report, you are prohibited from maintaining and/or
            opening any additional individual and/or joint checking, savings, or other financial accounts, for either personal or
            business purposes, without the knowledge and approval of the U.S. Probation Office. You must cooperate with the
            U.S. Probation Officer in the investigation of your financial dealings and must provide truthful monthly statements
            of your income. You must cooperate in the signing of any authorization to release information forms permitting the
            U.S. Probation Office access to your financial records.


            NEW DEBT RESTRICTIONS

            You are prohibited from incurring any new credit charges, opening additional lines of credit, or incurring any new
            monetary loan, obligation, or debt, by whatever name known, without the approval of the U.S. Probation Office. You
            must not encumber or liquidate interest in any assets unless it is in direct service of the fine and/or restitution
            obligation or otherwise has the expressed approval of the Court.


            OCCUPATIONAL RESTRICTIONS

            As a further special condition of probation, you must refrain from operating any money wiring transfer/currency
            exchange business without permit or authorization from the appropriate authorities.
                  Case 2:19-cr-00525-KM Document 58 Filed 12/08/21 Page 4 of 6 PageID: 542
AO 245B (Mod. D/NJ 12/06) Sheet 4 - Probation


                                                                                             Judgment - Page 4 of 6
Defendant: WILLIAM GREEN
Case Number: 2:19-CR-00525-KM-1



                                                STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions
are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
tools needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct
and condition.


1) You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
   of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
   within a different time frame.

2) After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
   how and when you must report to the probation officer, and you must report to the probation officer as instructed.

3) You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
   permission from the court or the probation officer.

4) You must answer truthfully the questions asked by your probation officer.

5) You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
   living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
   change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
   the probation officer within 72 hours of becoming aware of a change or expected change.

6) You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
   probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
   view.

7) You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
   excuses you from doing so. If you do not have fulltime employment you must try to find full-time employment, unless
   the probation officer excuses you from doing so. If you plan to change where you work or anything about your work
   (such as your position or your job responsibilities), you must notify the probation officer at least 10 days before the
   change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
   circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
   change.

8) You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
   has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
   the permission of the probation officer.

9) If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10) You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e..
    anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
    person such as nunchakus or tasers).

11) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
    informant without first getting the permission of the court.

12) If the probation officer determines that you pose a risk to another person (including an organization), the probation
    officer may require you to notify the person about the risk and you must comply with that instruction. The probation
    officer may contact the person and confirm that you have notified the person about the risk.
                  Case 2:19-cr-00525-KM Document 58 Filed 12/08/21 Page 5 of 6 PageID: 543
AO 245B (Mod. D/NJ 12/06) Sheet 4 - Probation


                                                                                                        Judgment - Page 5 of 6
Defendant: WILLIAM GREEN
Case Number: 2:19-CR-00525-KM-1



                                                STANDARD CONDITIONS OF SUPERVISION
13) You must follow the instructions of the probation officer related to the conditions of supervision.




                                                    For Official Use Only - - - U.S. Probation Office

   Upon a finding of a violation of probation or supervised release, I understand that the Court may (1) revoke supervision
or (2) extend the term of supervision and/or modify the conditions of supervision.

    These conditions have been read to me. I fully understand the conditions, and have been provided a copy of them.

  You shall carry out all rules, in addition to the above, as prescribed by the Chief U.S. Probation Officer, or any of his
associate Probation Officers.

                                     (Signed)_____________________________________________________________________
                                                          Defendant                                Date


                                                _____________________________________________________________________
                                                    U.S. Probation Officer/Designated Witness         Date
                  Case 2:19-cr-00525-KM Document 58 Filed 12/08/21 Page 6 of 6 PageID: 544
AO 245B (Mod. D/NJ 12/06) Sheet 5 - Fine


                                                                                            Judgment - Page 6 of 6
Defendant: WILLIAM GREEN
Case Number: 2:19-CR-00525-KM-1


                                                                  FINE
            The defendant shall pay a fine of $80,000.00.

          This fine, plus any interest pursuant to 18 U.S.C. § 3612(f)(1), is due immediately. If defendant is unable to pay the
fine in 30 days, the fine shall be paid in monthly installments of no less than $500.00, to commence 30 days after the date
of this judgment.

            The Court will waive the interest in this case.




       If the fine is not paid, the court may sentence the defendant to any sentence which might have been originally
imposed. See 18 U.S.C. § 3614.

        Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

        Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
AVAA assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and
(10) costs, including cost of prosecution and court costs.
